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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION


UNITED STATES OF AMERICA,                )       CASE NO. 1:10CR8387
                                         )
                                         )
                                         )       JUDGE SARA LIOI
                     PLAINTIFF,          )
vs.                                      )
                                         )       OPINION & ORDER
                                         )
JAMES C. DIMORA, et al.,                 )
                                         )
                                         )
                     DEFENDANTS.         )

              On April 23, 2012, the Court denied the motion of defendant James

Dimora for release pending sentencing and a second trial. (Doc. No. 867.) On May 7,

2012, defendant Dimora filed a timely notice of appeal from that decision. (Doc. No.

885.) On May 18, 2012, defendant Dimora filed with this Court a motion styled

“Renewed Motion for Release from Detention Pending Sentencing and Second Trial

Based on New Medical Concerns.” (Doc. No. 889.) This latest motion specifically asks

the Court to reconsider its April 23, 2012 Opinion and Order denying his request for

release pending sentencing. The government opposes the motion. (Doc. No. 892.)

              The impetus for the motion is a recent injury defendant Dimora sustained

at the Northeast Ohio Correctional Center (“NOCC”), where he is currently housed.

According to the motion, on May 4, 2012, defendant Dimora fell, suffering “a loss of

consciousness, a concussion and other injuries.” (Doc. No. 889, Page ID # 18359, citing

Affidavit of Dr. Marwan Hilal, Doc. No. 889-1, Page ID # 18362.) These injuries

required his hospitalization at St. Elizabeth’s Hospital in Youngstown, Ohio. While
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Dimora was receiving treatment for these injuries, doctors at the hospital discovered a

mass behind his pharynx and an aneurysm. (Id. at Page ID # 18360, Hilal Aff. at ¶ 9,

Doc. No. 889-1, Page ID # 18363.) As a result of the fall, Dimora claims, without

support, that he has aggravated pre-existing medical conditions and has been prescribed a

walker, and that he may need a wheelchair at some undefined future date. He further

maintains that the discovery of the aneurism and mass may require additional treatment.

(See Hilal Aff. at ¶¶ 8-13, Doc. No. 889-1, Page ID # 18363.) As a result of these

developments, defendant Dimora requests that this Court revisit its previous

determination that it could not find by clear and convincing evidence that he did not pose

a flight risk.

                 Defendant Dimora’s motion must be denied because this Court lacks

jurisdiction over the motion. “[A] timely appeal divests the district court of jurisdiction to

reconsider its judgment until the case is remanded by the Court of Appeals.” Dunham v.

United States, 486 F.3d 931, 935 (6th Cir. 2007) (internal citation and quotation omitted);

see United States v. Garcia-Robles, 562 F.3d 763, 767-68 (6th Cir. 2009) (internal

citation and quotation omitted). While the Sixth Circuit has carved out certain limited

exceptions to this rule that allow a district court to entertain motions for relief from

judgments or orders from which an appeal has been sought, these exceptions do not

apply. For example, a district court may, if it chooses, consider a properly filed motion

under Federal Rules of Civil Procedure 60(b). See Dunham, 486 F.3d at 935 (citing First

Nat’l Bank of Salem, Ohio v. Hirsch, 535 F.2d 343, 346 (6th Cir. 1976)). However, “Rule

60(b) is not applicable to criminal proceedings[,]” United States v. Diaz, 79 F. App’x

151, 152 (6th Cir. 2003), and, therefore, the Court cannot treat Dimora’s motion as one
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brought under Rule 60(b).1 See United States v. Gibson, 424 F. App’x 461, 464 (6th Cir.

2011) (affirming district court’s order finding that it lacked jurisdiction to consider

defendant’s Rule 60(b) motion for resentencing).

                  Likewise, “a district court retains jurisdiction to proceed with matters that

are in aid of the appeal.” Cochran v. Birkel, 651 F.2d 1219, 1221 (6th Cir. 1981), cert.

denied, 454 U.S. 1021 (1984) (citations omitted). “The distinction, although sometimes

blurred, is between actions that merely aid the appellate process and actions that alter the

case on appeal.” Inland Bulk Transfer Co. v. Cummins Engine Co., 332 F.3d 1007, 1013

(6th Cir. 2003) (internal quotation omitted). By his motion, Dimora is requesting that this

Court alter its Order denying him release from custody pending sentencing, and the Court

finds that such a ruling would not merely aid the appellate process, but would, instead,

alter the case on appeal. See, e.g., Rice v. White, Case No. 2:06-cv-11610, 2012 U.S. Dist.

LEXIS 50742, at *4-*5 (E.D. Mich. Apr. 11, 2012) (finding that a motion to amend a

trial court’s order conditionally granting habeas relief and staying relief pending appeal

would not aid the appellate process).

                  Because Dimora seeks reconsideration of the very order from which he

has already taken a timely appeal, the Court believes that it lacks jurisdiction to consider

defendant Dimora’s “renewed” motion, and the motion is denied for that reason. To the


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  The Court recognizes that Rule 60(b) has some application in prisoner habeas corpus proceedings and
post-conviction proceedings under 28 U.S.C. §§ 2241 and 2255, as these are considered civil matters. See
United States v. Bender, 96 F. App’x 344, 345 (6th Cir. 2004) (stating that Rule 60(b) “may be used to seek
relief from the denial of [a] § 2255 motion, but only if it pertains to issues that were decided in the § 2255
case”); United States v. Clark, Criminal Action No. 6:06-47-S-DCR, Civil Action No. 6:07-193-DCR, 2011
U.S. Dist. LEXIS 36862, at *6 (E.D. Key. Apr. 5, 2011); United States v. Cabero, No. 1:02-cr-107-003,
2005 U.S. Dist. LEXIS 39442. At *3 (E.D. Tenn. June 21, 2005).


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extent that it retains some jurisdiction to consider the merits of the motion, the Court

finds that the arguments advanced in the motion, and the evidence offered in support,

would not change the Court’s finding with respect to its determination that Dimora

should not be released pending sentencing. Dimora’s motion is supported by the affidavit

of his treating physician, Dr. Marwan Hilal, who reviewed the medical records from St.

Elizabeth’s Hospital. He surmises that Dimora will require further medical care for the

aneurism and mass, and that he may require immediate care if the mass is found to be

cancerous. (Hilal Aff. at ¶¶ 8-10 , Doc. No. 889-1, Page ID # 18363.) Dimora claims that

this evidence, when considered alongside his pre-existing medical conditions,

demonstrates that he does not pose a flight risk. He further argues that “[i]f Mr. Dimora is

released on bond…the medical costs will be borne by Mr. Dimora’s medical insurance

and there is no need for the [Bureau of Prisons] to pay for transportation or security at the

hospital.” (Doc. No. 889, Page ID # 18360.)

               In support of his original motion for release pending sentencing, Dimora

offered evidence that he suffered from a number of medical ailments. While the Court

factored this evidence into its analysis as to the question of risk of flight, it ultimately

concluded that:

       Nothing Dimora has presented in support of his recently identified medical
       condition suggests to the Court that he is not healthy enough to leave the
       jurisdiction, and seek medical treatment in another locale.

(Doc. No. 867, Page ID # 18052.) Defendant Dimora’s “renewed” motion does not

identify any new conditions or diagnoses, beyond the temporary condition of a

concussion, and the presence of an unidentified mass. It contains nothing more than

speculation that he might have more serious medical conditions. The mere possibility that
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Dimora might need some type of treatment in the future for his latest health-related

developments, even coupled with his pre-existing medical conditions, does not change

this Court’s finding that Dimora is likely to flee the jurisdiction and seek medical

treatment, if ultimately necessary, elsewhere.2 Additionally, at the risk of mentioning the

obvious, it appears from defendant Dimora’s motion that he is, in fact, receiving medical

treatment when necessary. Clearly, he has been treated at a medical facility when his

condition warranted it, and there is nothing to suggest that he will not continue to receive

treatment when appropriate. Moreover, Dimora’s unsubstantiated claim that he may, for

some unspecified period of time, require the assistance of a walker does not compromise

his ability to flee the jurisdiction by means other than on foot. Finally, the fact that

Dimora’s medical insurance would likely cover any necessary medical expenses, if he

was released, has absolutely no bearing on whether he poses a flight risk under 18 U.S.C.

§ 3143(a)(1). Because the Court would still find that defendant Dimora poses a flight risk

if released pending sentencing, his “renewed” motion would be denied.

                 For all of the foregoing reasons, defendant Dimora’s motion is denied for




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  Dimora offers the evidence of his recent fall, and the discovery of the mass and aneurism, for the sole
purpose of demonstrating that he no longer poses a flight risk. (See Doc. No. 889, Page ID # 18360.) He
does not claim that he would be unable to obtain the necessary medical care at NOCC. Moreover, the Court
has been advised by David Kasulones, Supervisory Deputy U.S. Marshal, that NOCC is equipped to
provide defendant Dimora with any required medical care at its facility, or some appropriate medical
facility, if necessary. See United States v. Sundeen, Criminal Action Number 02-062. Section “L” (5), 2003
U.S. Dist. LEXIS 14284, at *4 (E.D. La. Aug. 14, 2003) (denying defendant’s motion to be released
pending sentence and motion to obtain medical treatment, notwithstanding defendant’s serious health
problems, and noting that “there is no evidence that the defendant cannot obtain necessary medical
treatment while in custody”), rev’d and remanded on other grounds for resentencing, 434 F.3d 384 (5th
Cir. 2005); United States v. Rodriguez, 50 F. Supp. 2d 717, 722 (N.D. Ohio 1999) (denying a motion for
release pending sentencing under 18 U.S.C. § 1345(c), noting that “there is no indication that defendant’s
condition cannot be properly treated at the Bureau of Prison’s medical facilities”).
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lack of jurisdiction.

        IT IS SO ORDERED.

Dated: May 25, 2012
                                         HONORABLE SARA LIOI
                                         UNITED STATES DISTRICT JUDGE




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